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   13 Permanent Receiver

   14
                             UNITED STATES DISTRICT COURT
   15
                            CENTRAL DISTRICT OF CALIFORNIA
   16
                            WESTERN DIVISION – LOS ANGELES
   17
      SECURITIES AND EXCHANGE                Case No. 2:19−cv−02188−DSF−MRW
   18 COMMISSION,                            Hon. Dale S. Fischer
   19
                       Plaintiff,            NOTICE OF MOTION AND MOTION
   20                                        FOR INSTRUCTIONS REGARDING
                       v.                    ATTORNEY-CLIENT PRIVILEGE
   21
                                             AND RECEIVER’S ACCESS TO
   22 DIRECT LENDING INVESTMENTS             FILES CLAIMED TO BE
        LLC,                                 PRIVILEGED; AND APPROVING
   23
                                             FORM AND/OR LIMITATION OF
   24                 Defendant.             NOTICE UNDER LOCAL CIVIL
                                             RULE 66-7; MEMORANDUM OF
   25
                                             POINTS AND AUTHORITIES
   26

   27
                                             Date:    September 16, 2019
                                             Time:    1:30 PM
   28                                        Dept.:   Courtroom 7D
                                             Place:   United States District Court
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    1                                                        Western Division
    2                                                        350 West 1st Street,
                                                             Los Angeles, CA 90012
    3
              PLEASE TAKE NOTICE THAT on September 16, 2019, at 1:30 p.m. in
    4
        Courtroom 7D of the above-entitled Court, located at 350 West 1st Street, Los
    5
        Angeles, CA 92701-4516, Bradley D. Sharp, the Court-appointed permanent
    6
        receiver (the “Receiver”), will and hereby does make this Motion for Instructions
    7
        Regarding Attorney Client Privilege and Receiver’s Access to Files Claimed to Be
    8
        Privileged; and Approving Form and/or Limitation of Notice Under Local Civil
    9
        Rule 66-7 (the “Motion”). By this Motion, the Receiver seeks the following relief:
   10
              1.     An order confirming that the Receiver holds and has the power to
   11
        assert or waive all the attorney-client privilege rights of Direct Lending
   12
        Investments, LLC, Direct Lending Income Fund, L.P., Direct Lending Income
   13
        Feeder Fund, Ltd., DLI Capital, Inc., DLI Lending Agent, LLC, and DLI Assets
   14
        Bravo, LLC, and their successors, subsidiaries, and affiliated entities. 1
   15
              2.     An order confirming that the Receiver is authorized to obtain copies of
   16
        all client files and documents in the possession of any law firm that represented one
   17
        or more of the Receivership Entities as set forth in any engagement letter in
   18
        possession of any one or more of the Receivership Entities or as otherwise
   19
        evidenced by the files of the Receivership Entities, including without limitation
   20
        files for matters in which any of the Receivership Entities was a joint client with
   21
        Brendan Ross.
   22
              3.     An order confirming that Brendan Ross was not a client of, and holds
   23
        no attorney-client privilege in his individual capacity with regard to, any
   24
        communications with a law firm that represented one or more of the Receivership
   25
        Entities and in which he is not personally identified as a client of such law firm in
   26
   27   1
         The above listed entities shall be referred to collectively as the “Receivership
        Entity” or “Receivership Entities.”
   28
                                                2
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    1 its engagement agreement.
    2         4.    An order confirming that the Receiver is authorized to review any
    3 client files or attorney-client communications made for any matter in which a
    4 Receivership Entity and Brendan Ross were jointly represented by a single law firm
    5 on the same matter as set forth in the engagement agreement of the law firm.
    6         5.    An order confirming that except as otherwise provided under
    7 applicable law, including without limitation California Evidence Code § 962 and
    8 applicable    federal   law,   the   Receiver   shall   not   disclose   attorney-client
    9 communications or attorney work product to any third party outside the scope of the
   10 joint representation with respect to matters in which one or more of the
   11 Receivership Entities was jointly represented by counsel together with Brendan
   12 Ross, unless Brendan Ross consents to the disclosure.
   13         6.    An order confirming that Brendan Ross waived any attorney-client
   14 privilege, or work product privilege, over any communication or document stored
   15 on Mr. Ross’s mobile device or personal email account that Mr. Ross provided to
   16 counsel for DLI.
   17         7.    An order confirming that Ross and any other person or entity not a
   18 Receivership Entity waived any right of attorney-client privilege, or work product
   19 privilege, over any communication or document that he/it sent through a DLI email
   20 account or stored on a computer system or electronic storage device owned,
   21 managed, in the possession of, or under the control of any of the Receivership
   22 Entities.
   23         8.    An order approving the form of notice on the Motion provided to
   24 interested parties, creditors, and investors, who are potential creditors of the estate,
   25 by the Receiver (a) serving the Motion and related moving papers on all parties to
   26 the action and on the known law firms whose files are the subject of the Motion; (b)
   27 serving by mail a notice of hearing on the Motion to all known creditors pursuant to
   28 Local Civil Rule 66-7; (c) posting a copy of the Motion on the Receiver’s website
                                              3
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    1 for the case at https://cases.stretto.com/dli; and (d) causing Bankruptcy
    2 Management Solutions dba Stretto to provide by email a copy of the notice of
    3 hearing on the Motion to all known investors through its email service regularly
    4 used to provide notices and documents to investors pursuant to the applicable
    5 governing documents for Direct Lending Income Fund, L.P. (“Domestic Feeder
    6 Fund”) and Direct Lending Income Feeder Fund, Ltd. (“Off Shore Feeder Fund”),
    7 as sufficient notice and opportunity for hearing on the Motion under the
    8 circumstances.
    9         The Motion is made following the Receiver’s communications with counsel
   10 for the Securities and Exchange Commission under Local Rule 7-3, and the Receiver
   11 is advised that the SEC generally does not oppose the Motion. Defendant DLI, the
   12 only other party to the action has consented to entry of a bifurcated judgment as to
   13 liability but not damages, and given the Receiver’s appointment over the defendant,
   14 defendant DLI has no practical interest in the relief sought distinct from the
   15 Receiver. There are numerous interested parties served with the Motion, making a
   16 pre-filing conference with the other interested parties impracticable.
   17         This Motion is based upon this Notice, the following Memorandum of Points
   18 and Authorities, the concurrently filed Declaration of Bradley D. Sharp and
   19 Declaration of Chris Sullivan, the separate notice of hearing on the Motion under
   20 Local Rule 66-7, and upon such further oral argument, testimony and evidence as
   21 may be received at the hearing on this matter.
   22         PLEASE TAKE FURTHER NOTICE that pursuant to Local Rule 7-9, any
   23 party who opposes the Motion must, not later than 21 days before the date of the
   24 hearing on the motion, serve upon all other parties and file with the Clerk either (a)
   25 the evidence upon which the opposing party will rely in opposition to the motion and
   26 a brief but complete memorandum which shall contain a statement of all the reasons
   27 in opposition thereto and the points and authorities upon which the opposing party
   28 will rely, or (b) a written statement that that party will not oppose the motion.
                                              4
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    1 Evidence presented in all opposing papers shall comply with the requirements of
    2 L.R. 7-6, 7-7 and 7-8.
    3
    4 DATED: August 16, 2019              DIAMOND McCARTHY LLP
    5                                     By: /s/Christopher D. Sullivan
                                              Christopher D. Sullivan
    6                                         Attorneys for Bradley D. Sharp, Permanent
                                              Receiver
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.      INTRODUCTION
 3         On April 1, 2019, this Court entered the Preliminary Injunction Order and
 4 Order Appointing Permanent Receiver (“Receiver Order”), Doc. No. 10, appointing
 5 Bradley D. Sharp (“Receiver”) as permanent receiver for the estate of defendant
 6 Direct Lending Investments LLC (“DLI”), and Direct Lending Income Fund, L.P.,
 7 Direct Lending Income Feeder Fund, Ltd., DLI Capital, Inc., DLI Lending Agent,
 8 LLC, and DLI Assets Bravo, LLC and their successors, subsidiaries and affiliated
 9 entities (collectively the “Receivership Entity”).
10         After entry of the Receiver Order, the Receiver began investigating the
11 business of the Receivership Entity and the allegations in the original complaint,
12 among others. The Receiver sought copies of the client files, communications, and
13 work product possessed by certain law firms that represented DLI in business and
14 litigation matters. Before the law firms responded, DLI’s sole owner and former
15 Chief Executive Officer, Mr. Brendan Ross (“Ross”), objected to the production of
16 client files to the Receiver on the ground that he had an attorney-client privilege
17 with each such law firm because he was personally a client and jointly represented,
18 or because his personal privilege was indistinguishable from the privilege of DLI.
19 In his objection, Ross further requested the return of personal material Ross turned
20 over to DLI from his cell phone and Gmail account on the ground it was privileged.
21         The Receiver seeks instruction from the Court on the scope and applicability
22 of the attorney-client privilege, waiver of such privilege, and approval and
23 instruction regarding a process for holding, reviewing, and utilizing information
24 subject to the attorney client-privilege. The Court’s instruction is necessary to allow
25 the Receiver to gain complete access to the Receivership Entity’s client files to
26 which he is entitled in the performance of his duties, and to protect the Receiver’s
27 decisions and the rights of interested parties, including the pre-receivership counsel
28 holding these files in light of Ross’s objection.

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 1 II.     FACTS SUPPORTING RELIEF
 2         A.     The Receiver Order
 3         The Receiver is granted the full powers of an equity receiver over all funds,
 4 property and assets belonging to, being managed by or in the possession of or
 5 control of the Receivership Entity.2 The Receiver Order provides that “the
 6 Receivership Entity and its officers, agents, servants, employees and attorneys, and
 7 any other persons who are in custody, possession or control of any assets, collateral,
 8 books, personal computers, records, papers or other property of or managed by any
 9 of the entities in receivership, shall forthwith give access to and control of such
10 property to the permanent receiver.”3 All attorneys for the Receivership Entity are
11 ordered to “cooperate with and assist the permanent receiver and shall take no
12 action, . . . to interfere in any manner, directly or indirectly, with the custody,
13 possession, management, or control by the permanent receiver of the funds, assets,
14 collateral, premises, and choses in action described above.” 4
15         B.     Client Files held by the Receivership Entity’s outside lawyers
16                1.    Law Firms representing the Receivership Entity
17         Prior to the appointment of the Receiver, the Receivership Entity engaged
18 law firms to advise and represent it in business transactions, civil litigation,
19 collections, and government investigations. 5 These law firms communicated with
20 and rendered advice to employees and officers of the Receivership Entity, and
21 collected and obtained documents and information from the Receivership Entity
22 necessary for their representation.
23         The Receivership Entity engaged attorneys through written engagement
24 agreements. These engagement letters specified both the scope and purpose of the
25
     2
     Receiver Order, Section VI.
26   3
     Receiver Order, Section VII.
27 4 Receiver Order, Section X.
28 5 Sharp Decl. ¶8.

                                            2
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 1 engagement and identified the client. Except for the engagement letter with
 2 Kasowitz Benson Torres LLP, dated April 5, 2017 discussed in section II. B. 4
 3 below, infra, the engagement letters between DLI and each law firm listed a
 4 Receivership Entity as the client and did not include Mr. Ross as a listed client.6
 5 These include the following:7
 6         • Paul Hastings LLP engagement dated July 13, 2016 with Direct Lending
 7            Income Fund L.P.
 8         • Paul Hastings LLP engagement dated March 27, 2017 with Direct
 9            Lending Investments, LLC
10         • Gibson Dunn & Crutcher LP engagement dated August 11, 2016 with
11            Direct Lending Investments LLC.
12         • Mintz Levin engagement dated September 23, 2016 with Direct Lending
13            Income Fund, L.P.
14         • Thompson Coburn LLP engagement dated December 9, 2016 with Direct
15            Lending Income Fund, L.P.
16         • Kasowitz Benson Torres LLP engagement dated February 7, 2019 with
17            Direct Lending Investments, LLC, Direct Lending Income Fund, L.P., and
18            Direct Lending Income Feeder Fund Ltd.
19         • Wilkie Farr & Gallagher LLP engagement dated October 5, 2016 with
20
   6
     To avoid the inadvertent disclosure or waiver of attorney client privilege, the
21 Receiver submitted redacted copies of the engagement letters. See Exhs. 1-9 to Sharp
22 Decl. However, attorney engagement and retainer agreements are generally not
   considered privileged. “The Ninth Circuit has repeatedly held retainer agreements
23 are not protected by the attorney-client privilege or work product doctrine.” Gusman
   v. Comcast Corp., 298 F.R.D. 592, 599 (S.D. Cal. 2014) (collecting cases).
24 Communications between attorney and client that concern “the identity of the client,
25 the amount of the fee, the identification of payment by case file name, and the
   general purpose of the work performed are usually not protected from disclosure by
26 the attorney-client privilege.” Clarke v. Am. Commerce Nat'l Bank, 974 F.2d 127,
   129 (9th Cir. 1992). The Receiver will submit the complete engagement letters for in
27 camera review, under seal, or in any other manner if requested by the Court.
   7
28    See Sharp Decl. ¶9 & Exhs. 1-8.

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 1             Direct Lending Investments, LLC
 2         • Jones Day engagement of February 20, 2018 with Direct Lending
 3             Investments, LLC and DLI Assets Bravo, LLC
 4         Most of these engagement agreements contain disclaimers stating that the law
 5 firm does not represent other affiliated entities, officers, directors, or shareholders,
 6 etc. For example, the engagement agreements of Paul Hastings, Gibson Dunn &
 7 Crutcher LP, Mintz Levin, Wilkie Farr & Gallagher LLP, and Jones Day contain
 8 assorted provisions stating that the law firm is not representing entities such as
 9 affiliate entities, parent entities, subsidiaries, officers, directors, shareholders, or
10 partners, etc. 8 The engagement agreements of Thompson Coburn LLP and the
11 February 7, 2019 engagement agreement of Kasowitz Benson Torres LLP, do not
12 contain such a clause but simply identify the particular entity that is a client.9 None
13 of the above agreements list Ross or any other individual as a client.10
14                2.     The Receiver seeks client files
15         After his appointment, the Receiver through his counsel sought copies of
16 client files, communications, and work product in the possession of certain law
17 firms that were pre-receivership counsel to the Receivership Entity to facilitate
18 performance of his duties. 11 The Receiver sought such files to: (a) better understand
19 the terms, conditions, and background of business transactions of the Receivership
20 Entity; and (b) understand the claims, defenses, and procedural facts of various
21 litigation matters.12 The Receiver’s access to these files will significantly help him
22 discharge his duties under the Receiver Order.13
23
     8
24     Sharp Decl. Exhs. 1-4, 7-8.
     9
        Sharp Decl. Exhs. 5-6
25   10
        See Sharp Decl. Exhs. 1-8.
26   11
        Sharp Decl. ¶10; Sullivan Decl. ¶4.
     12
27      Sharp Decl. ¶12.
     13
        Subject to and in compliance with any instruction of the Court issued on this
28   Motion, the Receiver expects to seek client files from additional law firms as needed.

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 1                3.    Ross objects to the Receiver’s request for privileged
 2                      information.
 3         Brendan Ross (“Ross”), the former officer, manager, and sole member of
 4 DLI, objected to the law firms’ production of client files to the Receiver based on
 5 an attorney-client privilege that he claimed to hold individually. 14 Ross claimed a
 6 personal attorney-client privilege arising from his status as the “founder and at all
 7 times sole owner of DLI” and because Ross and DLI are “closely intertwined and
 8 share a unity of interest.” 15 Because of Ross’s objection, the law firms have not
 9 complied with the Receiver’s request.
10                4.    Brendan Ross and DLI are jointly represented by a law firm for
11                      the Talking Capital litigation.
12         To date, the Receiver has identified only one engagement letter that reflects a
13 joint representation of the Receivership Entity and Ross individually: an April 5,
14 2017 engagement agreement with Kasowitz Benson Torres, LLP on behalf of
15 Brendan Ross, DLI TC, LLC, Direct Lending Investments, LLC, and Direct
16 Lending Income Fund, L.P. as clients.16 They engaged the law firm to represent all
17 of them in connection with the case described in the engagement letter as Talking
18 Capital LLC, et. al. v. Omanoff, et al., Index No. 650973/2017, currently pending in
19 the Supreme Court of the State of New York, County of New York (the “Talking
20 Capital litigation”).17 Ross did not sign the letter.
21         The Talking Capital litigation is ongoing. When the Receiver requested
22 client files from Kasowitz Benson Torres, LLP, Ross objected to the law firm’s
23 production of client files to the Receiver based on his attorney-client privilege as a
24
     14
      Sullivan Decl. ¶5-6; Exh. 1 to Sullivan Decl., at 1.
25   15
      Id.
26 16 Sharp Decl. Exh. 9.
27 17 According to the Second Amended Complaint, filed on Feb. 13, 2019, the style of
   the case is: Forefront Partners LLC v. Rodney Omanoff, et. al., and DLI TC, LLC v.
28 Forefront Partners LLC, et. al.

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 1 party to a joint representation. The law firm has not complied with the Receiver’s
 2 request. Although the Receiver has not learned of other engagements listing Ross
 3 as a joint client if such engagements exist, the Receiver will treat them in the same
 4 manner as the Talking Capital litigation joint representation.
 5         C.     The Receivership Entity’s Electronic information systems and
 6         applicable policies and procedures
 7                1.    The Receivership Entity’s Electronic Information Systems
 8         The Receivership Entity has possession, custody, and control of multiple
 9 information technology systems, including an email domain “@dirlend.com”, and a
10 hosted cloud storage platform provided by a third-party vendor called Egnyte and
11 administered by DLI’s outside information technology consultant Advanced
12 Networks. DLI pays a monthly invoice to Advanced Networks for services,
13 including the cost of its cloud storage service, email, and other services. 18
14         In addition, since February 2016, DLI has implemented an email archiving
15 system through a third-party vendor, Smarsh, Inc., for regulatory compliance
16 purposes. Advanced Networks also oversees systems to backup and to track
17 electronic files stored on its Egnyte cloud storage.19
18         These and other electronically stored information systems are under the
19 control of the Receivership Entity and employees of DLI hold administrator level
20 access to these systems allowing them to review any email in the company or any
21 file created by a user of the company’s systems at any time. 20
22                2.    DLI Employee Handbook
23         DLI has an employee handbook, titled the Direct Lending Investments, LLC
24 Employee Handbook, which was last updated in October 2017.            21
                                                                              The Handbook
25
     18
26    Sharp Decl. ¶5.
     19
      Sharp Decl. ¶¶5-6;
27 20
      Sharp Decl. ¶5.
28 21
      Sharp Decl. Exh. 13 (the “Handbook”).

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 1 informs employees that they have no expectation of privacy, confidentiality, or
 2 privilege in any communication, document, or other information stored or
 3 transmitted using DLI’s information technology resources and that all such files and
 4 communications belong to DLI. 22
 5            The Handbook defines DLI’s “Technology Resources” to include any
 6 electronic media, any “means of electronic communication” including personal
 7 computers, laptop computers, tablets, electronic mail, mobile phones, and other
 8 handheld devices. The Handbook contains a lengthy series of warnings regarding
 9 the use of such “Technology Resources” on pages 20-25, including the following:
10            a.    “DLI’s Technology Resources are to be used by employees during
11                  working time only for the purpose of conducting Company business.”
12            b.    “All messages sent and received, including personal messages, and all
13                  data and information stored on DLI’s Technology Resources
14                  (including on its electronic mail system, voicemail system, or
15                  computer systems) are Company property regardless of the content.”
16            c.    “DLI reserves the right to access all of its Technology Resources
17                  including its computers, voicemail, and electronic mail systems, at
18                  any time, in its sole and absolute discretion.”
19            d.    “Employees should understand, therefore, that they have no right of
20                  privacy with respect to any messages or information created,
21                  collected, or maintained on DLI’s Technology Resources, including
22                  personal information or messages.”
23            e.    “DLI may, at its discretion, inspect all files or messages on its
24                  Technology Resources at any time for any reason and without notice.
25                  DLI may also monitor its Technology Resources at any time and
26                  without prior notice in order to confirm compliance with its policies,
27
     22
28        Sharp Decl. ¶18.

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 1                 for purposes of legal proceedings, to investigate misconduct, to locate
 2                 information, or for any other business purpose.”
 3            f.   “Passwords and login credentials do not confer any right of privacy
 4                 upon any employee of DLI.”
 5            g.   “Deleting or erasing information, documents, or messages maintained
 6                 on DLI’s Technology Resources, in most cases, does not completely
 7                 destroy such information, documents, or messages. . .. employees
 8                 who delete or erase information or messages may not assume that
 9                 such information or messages are confidential or ever were
10                 confidential.”
11            h.   “DLI reserves the right to advise appropriate legal authorities of any
12                 violation of law by an employee.”
13            i.   “[E]mployees should have no expectation of privacy whatsoever in
14                 any message, files, data, document, facsimile, telephone conversation,
15                 social media post, conversation or message, or any other kind of
16                 information or communications transmitted to, received or printed
17                 from, or stored or recorded on the company's electronic information
18                 and communications systems.”
19            DLI’s Handbook also informs employees that the company backs up and
20 archives electronic mail, that each document stored on a company computer has a
21 history that shows which users have accessed the document, and that internet use is
22 recorded and periodically monitored.23
23                 3.    DLI Compliance Manual
24            DLI has a compliance manual, titled the Direct Lending Investments, LLC
25 Compliance Manual, which was last updated in October 2017. 24 The Compliance
26
27   23
          Handbook at 21.
     24
28        Sharp Decl. Ex. 14 (“Compliance Manual”).

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 1 Manual informs employees that DLI must comply with applicable laws and rules
 2 regarding the preservation of email and other records and that it has implemented
 3 procedures and systems to retain electronic files and email communications. 25 The
 4 Compliance Manual explains that all DLI emails will be archived and subject to
 5 review, including through spot checking, key word searching, and other kinds of
 6 monitoring, and that DLI uses Smarsh, Inc. to archive all email communications.
 7 The Compliance Manual also informs employees that business related text message
 8 must be forwarded to the employee’s email. 26
 9              4.     DLI Employee Affirmations of Acceptance of Employee
10              Handbook and Compliance Manual
11        SEC rules and regulations impose numerous compliance requirements for
12 registered investment advisors, including Rule 204-2 of the Investment Advisors
13 Act of 1940, which requires registered investment advisors such as DLI to retain
14 written communications, including emails, relating to their business activities.
15 DLI’s compliance program required employees to affirm receipt of certain
16 compliance documents. DLI utilizes Schwab Compliance Technologies (“Schwab
17 CT”), an online secure service, to hold various compliance related documents and
18 to track its employees’ affirmations of acceptance and compliance.27 Schwab CT
19 can create a report of employee affirmations. Attached as Exhibit “15” to the Sharp
20 Declaration is an excerpt of a report generated from the Schwab CT compliance
21 program showing that Brendan Ross affirmed that he received and reviewed the
22 Employee Handbook and Compliance Manual.28
23              5.     Ross Employee Confidentiality Agreement
24        The files of DLI contain an executed Employee Confidentiality Agreement
25
     25
      Compliance Manual at 73, 75-82.
26 26
      Compliance Manual at 67-68, 73.
27 27 Sharp Decl. ¶¶17, 19.
28 28 Sharp Decl. ¶19 & Exh. 15.

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 1 between Brendan Ross and Direct Lending Investments, LLC, dated January 1,
 2 2015 29 by which Ross agreed that confidential information relating to DLI and its
 3 business belonged to DLI. He further agreed that in addition to his obligations
 4 under the Handbook, he would comply with all policies and procedures related to
 5 information technology security and access. Ross also agreed that DLI had the right
 6 at any time to request that he provide access to all DLI property including any cell
 7 phone or smartphone or email messages. 30
 8         D.    Ross stores potentially privileged materials on the computer
 9         systems of the Receivership Entity
10               1.    Robin Hill Services
11         Beginning in the fall of 2016, DLI and an entity called Robin Hill Services,
12 LLC had a service agreement by which Robin Hill Services, LLC was to perform
13 various administrative services for DLI. 31 Certain employees of DLI also served as
14 employees of Robin Hill Services. The financial records of the Receivership Entity
15 suggest that certain employees received checks from both DLI and Robin Hill
16 Services, but the records do not reflect that hours worked for DLI and Robin Hill
17 Services were specifically tracked or used to allocate salary payments.32
18         The dual employees worked in DLI’s office space, used DLI phone systems
19 and computers, and often used DLI email accounts. DLI’s information technology
20 service providers set up shared folders in DLI’s cloud storage in Egnyte for these
21 employees to store files related to Robin Hill Services.33
22         The Robin Hill Services agreement states that DLI (referred to in the
23 agreement as the “Company”) and Robin Hill Services (identified as the
24
     29
25    Sharp Decl. ¶21 & Exh. 18.
     30
      Sharp Decl. Exh. 18 at 5-6.
26 31
      Sharp Decl. ¶13 and Exh. 10.
27 32 Sharp Decl. ¶13.
28 33 Sharp Decl. ¶¶13-14.

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 1 “Contractor”) intend to act as independent contractors (Section 1.1) but grants
 2 supervision and control to the Company [Section 1.2] as a practical matter over the
 3 business:
 4        Company shall be responsible for all issues related to the aspects of its
 5        investment management services business.       Company shall also be
 6        responsible for and shall have complete authority, responsibility,
 7        supervision and control over the provision of all products provided to or
 8        services performed for clients and customers, but Contractors shall be
 9        responsible for the specific items provided for in this Agreement. All
10        investment management services shall be provided and performed
11        exclusively by or under the supervision of Company personnel. 34
12 See also Section 4.1(d) (“Contractor agrees that Company and only Company,
13 through its responsible managing officers and other employees, will perform the
14 functions of Company’s primary investment management services.”).35
15        The 2017 audited financial statement of DLI and its affiliated entities
16 prepared by PKC Kuebler APC describes the “related party” management service
17 provider and states “All services to be provided by RHS are to be performed
18 exclusively by or under the supervision of Company personnel.” 36
19        The Robin Hill Services agreement expressly grants DLI in its discretion
20 upon termination of the agreement the right to “retain copies of financial and
21 accounting records relating to the investment management services provided by
22 Company.” (Section 6.1). The Robin Hill Services agreement also contains an
23 express grant of access to records in favor of DLI:
24        Section 6.2. Access to Records. During the term of this Agreement,
25
26   34
      Sharp Decl. Exh. 10 at 2.
27   35
      Id. at 3.
28 36 Sharp Decl. Exh. 19, at 15.

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 1            and thereafter, Company or its designee shall have reasonable access
 2            during normal business hours to Company’s and Contractor’s
 3            records, including, but not limited to, records of collections, expenses,
 4            and disbursements as kept by Contractor in performing Contractor’s
 5            obligations under this Agreement, and Company may copy any or all
 6            of such records. . . . 37 [Emphasis added.]
 7            Robin Hill Services, acting through “dual employees” shared with DLI, has
 8 engaged attorneys and law firms on matters in which DLI is not a client. At least
 9 some communications with these law firms used the dual employees’ DLI email
10 addresses. These dual employees also stored information and other records created
11 in connection with legal representations of Robin Hill within the Robin Hill folders
12 on DLI’s cloud storage service. All these files and emails are available to DLI’s
13 employees with administrator access.
14                  2.     Ross personal files
15            Brendan Ross stored personal information on DLI’s computer systems. DLI’s
16 IT vendor set up a series of shared folders on DLI’s cloud storage for Mr. Ross to
17 store personal financial and legal information. The folders used to store Mr. Ross’s
18 personal information are accessible to other DLI employees, including those with
19 administrator access and to DLI’s outside IT vendor.38
20            Ross retained lawyers and law firms to represent him individually or to
21 jointly represent him and other business entities he owns that are not designated as
22 Receivership Entities, including Robin Hill Services, LLC and Robin Hill
23 Investments, LLC. Ross has stored information and other records created in
24 connection with legal representations of Ross or these other outside entities within
25 folders on DLI’s cloud storage service. All these files and emails are available to
26
27   37
          Sharp Decl. Exh. 10 at 6.
     38
28        Sharp Decl. ¶¶ 5, 14.

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 1 DLI’s employees with administrator access and to its IT vendor. 39
 2               3.    Ross mobile phone and personal email
 3         In December 2018, one of DLI’s investment counterparties called VoIP
 4 Guardian Partners I, LLC (“VoIP Guardian”), failed to make an interest payment to
 5 DLI. In January 2019, DLI determined that VoIP Guardian was in default of its
 6 agreement and that it appeared unlikely to make further payments to DLI. 40
 7         In February 2019, DLI prepared a letter to its investors reporting that it
 8 engaged Kasowitz Benson Torres LLP “to assist in an investigation of VOIP
 9 Guardian and its obligors and to pursue potential litigation.” 41 DLI’s engagement
10 letter with Kasowitz Benson Torres LLP did not include any representation of any
11 officer, owner, manager, or employee of any of the listed entities.42 DLI also
12 reported its concerns to the U.S. Attorney’s Office.
13         Ross turned over to DLI material on his Apple iPhone X that DLI purchased
14 for Brendan Ross. 43 Under applicable Employee Handbook policies, the fact DLI
15 paid for the iPhone X made that device a DLI technology resource. 44 Mr. Ross also
16 provided access to his Gmail account, which was copied and provided to DLI.45
17 After Ross turned over his emails and messages on his iPhone X to DLI, DLI
18 loaded the electronic information gathered from the Apple iPhone X into an
19 electronic discovery platform already in use by DLI for storing other electronic
20 information for use in litigation and responding to government investigations. DLI
21 also loaded the contents of Mr. Ross’s Gmail account into this database. DLI then
22
23   39
        Sharp Decl. ¶¶ 5, 14.
24   40
        Sharp Decl. Exh. 16.
     41
25      Sharp Decl. ¶¶15, 20 & Exhs. 16.
     42
        Sharp Decl. ¶15 & Exh. 6.
26   43
        Sharp Decl. ¶15-16 & Exhs. 11-12.
27   44
        Employee Handbook at 20-21.
     45
28      Sharp Decl. ¶15.

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 1 commenced an internal review of certain of its investments and reported that
 2 investigation to its investors through a March 19, 2019 letter. 46 DLI informed its
 3 investors that it self-reported its findings to the SEC.
 4           The SEC commenced an investigation that resulted in the filing of the
 5 complaint here against DLI. In its Complaint, the SEC referenced emails from Ross
 6 to investment counterparties at QuarterSpot from Ross’s personal email account.47
 7 III.      ARGUMENT AND AUTHORITIES
 8           A.    The Receiver owns and controls the privilege of the Receivership
 9                 Entity.
10           Upon creation of a receivership, an equity receiver is deemed to be the holder
11 of all the attorney-client privileges of the entities subject to the receivership because
12 the receiver takes over management and control of the Receivership Entity. See
13 Commodity Futures Trading Commission v. Weintraub, 471 U.S. 343, 349 (1985)
14 (“[W]hen control of a corporation passes to new management, the authority to
15 assert and waive the corporation’s attorney-client privilege passes as well.”). The
16 law also vests the Receiver with power to waive the privilege, a power that could
17 not vest if the Receiver did not hold the privilege. See Securities and Exchange
18 Commission v. Elfindepan, S.A., 169 F. Supp. 2d 420 (M.D.N.C. 2001) (receiver
19 can waive attorney-client privilege on behalf of companies subject to receivership);
20 Commodity Futures Trading Commission v. Standard Forex, Inc., 882 F. Supp. 40,
21 44 (E.D.N.Y. 1995).
22           In the Receiver Order, the Court granted the Receiver the “full powers of an
23 equity receiver” and authorized the Receiver to collect, control and take possession
24 of all the assets of the Receivership Entity, consistent with the Order appointing
25
26
27   46
          Sharp Decl. Exh. 17.
     47
28        Complaint, ECF No. 1, ¶¶37-46.

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 1 him and the law applicable to equity receiverships.48 In particular, “the
 2 Receivership Entity and . . . attorneys, and any other persons who are in custody
 3 possession or control of any assets, collateral, books, personal computers, records,
 4 papers or other property of or managed by any of the entities in receivership,” must
 5 give access to and control of such property to Mr. Sharp. 49 Client files held by law
 6 firms that represented the Receivership Entity fall within this provision, and the
 7 Receiver is entitled to seek these files. Securities and Exchange Commission v.
 8 Ryan, 747 F. Supp. 2d 355, 368 (N.D.N.Y. 2010); Securities and Exchange
 9 Commission v. Bravata, No. 09-12950, 2011 WL 606745at*1 (E.D. Mich. February
10 11, 2011); Polycast Technology Corp. v. Uniroyal, Inc., 125 F.R.D. 47, 49
11 (S.D.N.Y. 1989) (as to files in possession of former counsel for an entity, the entity
12 holds the attorney-client privilege, not any individual officer formerly employed by
13 the entity).
14         B.     In representation of an entity, the privilege belongs to the corporate
15                client, not to a company shareholder or officer.
16         The California Rules of Professional Conduct make clear that: “A lawyer
17 employed or retained by an organization shall conform his or her representation to
18 the concept that the client is the organization itself, acting through its duly
19 authorized directors, officers, employees, members, shareholders, or other
20 constituents overseeing the particular engagement.” Cal. Rules Prof. Conduct
21 1.13(a).50 The Rule explains that constituents within the organization are not
22 deemed to be clients automatically and instead, representation of such individuals
23 typically requires evaluation of the lawyer’s duties under other Rules, including
24 California Rules of Professional Conduct 1.7, 1.8.2, 1.8.6, and 1.8.7 as well as
25
26   48
      Receiver Order, Section VI.
27   49
      Receiver Order, Section VII.
   50
28    Formerly Cal. Rules Prof. Conduct 3-600 (effective through 10/31/2018).

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 1 consent by an official or body of the organizational client other than the individual.
 2 Cal. Rules Prof. Conduct 1.13(g), former Rule 3-600(E).
 3         An attorney representing an organization does not create an attorney-client
 4 relationship with its officers, managing agents, or others acting in a representative
 5 capacity on behalf of the organization merely by the attorney’s engagement to
 6 represent the organization alone. La Jolla Cove Motel & Hotel Apartments, Inc. v.
 7 Superior Court, 121 Cal.App.4th 793, 784 (2004) (“In representing a corporation,
 8 an attorney's client is the corporate entity, not individual shareholders or directors,
 9 and the individual shareholders or directors cannot presume that corporate counsel
10 is protecting their interests”).51
11         Ross has claimed without reference to supporting facts that he holds the
12 privilege belonging to DLI because he “was the sole Managing Member and
13 principal of DLI” and thus shared a unity of interest. 52 But without more, mere
14 ownership alone is insufficient.53
15         C.     California law obligates the law firms to provide the Receiver with
16                all client files, including work product.
17         California requires attorneys to tender client files upon request. California
18 Rule of Professional Conduct 1.4 requires a member of the California State Bar to
19 “promptly compl[y] with reasonable requests for information and copies of
20 significant documents when necessary and to keep clients so informed.” Cal. Rules
21 Prof. Conduct, 1.4(a)(3).54 The law firms also have an obligation to turn over work
22
23   51
        See also Koo v. Rubio’s Restaurant, 109 Cal.App.4th 719, 731 (2003) (attorney for
     corporation represents corporation not officers or shareholders personally);
24   Skarbrevik v. Cohen, England & Whitfield, 231Cal.App.3d 692, 704 (1991)
     (“Counsel's direct duty is to the client corporation, not to the shareholders
25   individually”)
     52
26      Ex. A to Sullivan Declaration (Ross letter dated April 4, 2019 at 1).
     53
        See n. 52, supra.
27   54
        See also Cal. State Bar Form. Opn. 1994-134, (“[t]he client is entitled to constant
28   access to the file at all times during the representation.”) (internal citations omitted).

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 1 product. 55 Additionally, California Bus. & Prof. Code § 6068(m) obligates attorneys
 2 to “respond promptly to reasonable status inquiries of clients and to keep clients
 3 reasonably informed of significant developments in matter which the attorney has
 4 agreed to provide legal services.”
 5         Importantly, no law firm has objected to providing client files and have only
 6 withheld such files to allow the Court to resolve the attorney-client privilege
 7 objections expressed by Ross. Upon an order of this Court confirming that the
 8 Receiver holds all privileges belonging to the Receivership Entity, the Receiver
 9 expects that each law firm subject to a request will provide all requested client files,
10 but reserves the right to seek further relief from the Court in the event any firm
11 refuses to make a production consistent with California law and the Court’s orders.
12         D.     The Receiver is entitled to receive and review files subject to a joint
13                representation agreement.
14         The Receivership is not a third party or a new entity but is the successor to
15 DLI and the other Receivership Entities. Like a trustee in bankruptcy, where a joint
16 representation exists between an entity that later becomes a Receivership Entity and
17 a person or entity not subject to the receivership, the Receivership Entity is treated
18 as one of the clients with all the rights of a joint client.
19         Clients that enter a joint representation are equally entitled to see all
20 communications exchanged between the lawyer and the other jointly represented
21 party. California Evidence Code § 962 explains that no privilege exists within the
22 joint representation:
23         Where two or more clients have retained or consulted a lawyer upon a
24
     55
25   See Cal. State Bar Form. Opn. 1995-127 (client file includes work product and
   may include items not reduced to writing if ignorance of such information may result
26 in prejudice to client); San Diego Bar Ass’n Form. Opn. 1997 (attorney may not
   withhold work product “reasonably necessary” to client’s representation); Bar Ass’n
27 of San Francisco Form. Opn. 1990-1 (attorney may not withhold work product
   against a client when doing so would reasonably foreseeably prejudice the client’s
28 representation).

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 1         matter of common interest, none of them, nor the successor in interest of
 2         any of them, may claim a privilege under this article as to a
 3         communication made in the course of that relationship when such
 4         communication is offered in a civil proceeding between one of such
 5         clients (or his successor in interest) and another of such clients (or his
 6         successor in interest). 56
 7 Thus, “[w]here two or more persons engage an attorney to represent all of them, the
 8 privilege is waived as between the parties, but it remains as to strangers.” Nowell v.
 9 Superior Court for Los Angeles Cty., 223 Cal.App.2d 652,657 n.4 (1963); In re
10 Jaeger, 213 B.R. 578, 588 (Bankr. C.D. Cal. 1997) (“Where an attorney represents
11 joint clients, confidences must be shared.”). 57
12         Except in the circumstances addressed in California Evidence Code §962,
13 joint clients do each have the right to assert the attorney-client privilege to protect
14 privileged communications from disclosure to outsiders. 58 But one joint client
15
16   56
        See also Restatement (Third) of the Law Governing Lawyers § 75 (2000) (stating
17   that communications in a joint representation are not privileged in a subsequent
     averse proceeding.)
18   57
        See, also In re Hotels Nevada, LLC, 458 B.R. 560, 571 (Bankr. D. Nev. 2011)
19   (collecting cases recognizing “the content of joint communications belongs equally
     to the clients”); Hall CA-NV, LLC v. Ladera Development, LLC, No. 3:18-cv-00124-
20   RCJ-CBC, 2018 U.S. Dist. LEXIS 203257, 2018 WL 6272890, at *25, (D. Nev.
     Nov. 30, 2018) (holding that one client could not prevent disclosure of its
21   communications to lawyers in a joint representation because "it is widely recognized
22   that the joint representation exception [allowing all now-adverse jointly represented
     clients to access their lawyers' file] applies to all communications made by a co-
23   client to the joint attorney – regardless of whether both parties are present when the
     communications occur."); In re Taproot Systems, Inc., 2013 WL 3505621 at *3
24   (Bankr. E.D.N.C. July 11, 2013) (construing the common interest doctrine under
25   California law); Griffith v. Davis, 161 F.R.D. 687, 693 (C.D. Cal. 1995)
     “(communications among joint clients and their counsel are not privileged in disputes
26   between the joint clients, but are protected from disclosure to others.”)
     58
27      Roush v. Seagate Tech., LLC, 150 Cal.App.4th 210, 223, (2007); see also Am. Mut.
     Liab. Ins. Co. v. Superior Court, 38 Cal.App.3d 579, 590–96, (2013), as corrected
28   (Mar. 27, 2013).

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 1 cannot prevent the other joint client from having access to privileged material
 2 within the scope of the joint representation, which Ross’s privilege assertion in part
 3 attempts to do.
 4           The Receiver seeks instruction confirming that he may access the client files
 5 held by Kasowitz Benson in a joint representation with Ross in the Talking Capital
 6 litigation, subject to the limitation that without the consent of Ross as the other
 7 jointly represented party, the Receiver cannot waive the privilege associated with
 8 such files held by any jointly represented parties that are not Receivership Entities
 9 except in the circumstances set forth in California Evidence Code § 962 or as
10 provided by other applicable federal law.
11           E.    Ross has waived any privilege claim for any information or
12                 communications stored on Receivership Entity servers or email
13                 systems.
14           Under California law, employees have no reasonable expectation of privacy
15 nor any right to claim an attorney client privilege over any personal information or
16 communications stored on an employer’s computer or email systems if the
17 employer’s handbook explains that work computer and email systems are for work
18 purposes and subject to employer review.
19           In Holmes v. Petrovich Development Co., LLC, 59 the California Court of
20 Appeal rejected an employee’s assertion of attorney-client privilege over emails
21 sent from her work computer to her personal attorney. The Court of Appeals held
22 that an employee’s communication is not privileged:
23           (1) when the electronic means used belongs to the defendant
24           [employer]; (2) the defendant has advised the plaintiff that
25           communications using electronic means are not private, may be
26           monitored, and may be used only for business purposes; and (3) the
27
     59
28        Holmes v. Petrovich Development Co., LLC, 191 Cal.App.4th 1047 (2011).

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 1         plaintiff is aware of and agrees to these conditions.60
 2         The Court of Appeal found that the employee’s decision to use her
 3 employer’s computer after she was advised that it: (i) was not private, (ii) was for
 4 company business, and (iii) was accessible by her employer rendered her
 5 communications “not confidential” and were instead “akin to consulting her
 6 attorney in one of defendants' conference rooms, in a loud voice, with the door
 7 open, yet unreasonably expecting that the conversation overheard by Petrovich
 8 [defendant] would be privileged.”61
 9         The Court of Appeal further rejected the employee’s justifications for her
10 belief in confidentiality including use of private password, practice of deleting
11 emails after sending, and the “operational reality” that there was “no access or
12 auditing of employee’s computers.” 62 The employee had been warned that the
13 company could monitor emails, told her she had no expectation of privacy, and
14 could not reasonably believe her emails were private simply because the company
15 “had never enforced its computer monitoring policy.” 63
16         Federal courts in California applying federal law often following the four-
17 factor test in In re Asia Glob. Crossing, Ltd., 322 B.R. 247 (Bankr. S.D.N.Y. 2005):
18         (1) does the corporation maintain a policy banning personal or other
19         objectionable use, (2) does the company monitor the use of the
20         employee's computer or e-mail, (3) do third parties have a right of
21         access to the computer or e-mails, and (4) did the corporation notify the
22         employee, or was the employee aware, of the use and monitoring
23
24
     60
      Id. at 1068.
25   61
      Id.
26 62 Id. at 1068-1069.
27 63 Id. at 1071; see also TBG Insurance Services v. Superior Court 96 Cal.App.4th
   443 (2002) (holding an employer handbook provision defeated an employee’s
28 expectation of privacy).

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 1         policies?64
 2         Here, DLI’s Employee Handbook expressly and repeatedly informed
 3 employees that that they have no right of privacy or confidentiality for any
 4 information stored or sent on a DLI computer system or message system. The DLI
 5 Handbook broadly defines company Technology Resources to include all manner of
 6 electronic device, including mobile devices, and specifies repeatedly that such
 7 resources are for business use and that the company has the right to access all
 8 information on any company system. The Handbook warns employees that “All
 9 messages sent and received, including personal messages, and all data and
10 information stored on DLI’s Technology Resources (including on its electronic mail
11 system, voicemail system, or computer systems) are Company property regardless
12 of the content.” 65 DLI repeatedly warns employees that it has the right to access,
13 monitor, and inspect all of the content on its technology resources at any time and
14 that employees have “no right of privacy” in any personal information or personal
15 messages on DLI’s technology resources.66 DLI further warns employees that it can
16 investigate information stored on its systems to investigate misconduct and that no
17 password or credential can confer any right on any employee. DLI’s employees also
18 consent to monitoring by DLI of their computer, communication and even social
19 media activity. 67
20         DLI’s employees, including Ross, affirmed their agreement to the Employee
21 Handbook and Compliance Manual through the Schwab CT platform. Ross’s
22 agreement to the Handbook and Compliance Manual, among other documents, are
23
24   64
        In re Asia Glob. Crossing, Ltd., 322 B.R. at 255. See, e.g. In re High-Tech
25   Employee Antitrust Litig, No. 11-CV-2509-LHK-PSG, 2013 WL 772668, at *6 (N.D.
     Cal. Feb. 28, 2013).
26   65
        Handbook at 21.
27   66
        Id. at 21.
     67
28      Id. at 20-23, 25-26.

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 1 recorded on the Schwab CT platform and reported in its reports. 68 Ross’s
 2 Confidentiality Agreement likewise expresses his consent to DLI’s ownership and
 3 right of access to information.
 4            DLI makes use of the rights set out above by archiving all email, copying all
 5 email to an e-discovery platform, maintaining backup systems for its cloud storage
 6 system, and empowering several employees to hold administrator access to all its
 7 electronic resources.
 8            In the face of DLI’s lengthy and detailed instructions and warnings to its
 9 personnel and its practice of backing up and searching that information, any
10 information located on DLI’s computer or messaging systems is now the property
11 of the Receiver. No employee, especially not Ross, the former CEO, or other person
12 employed by DLI, can claim a personal attorney-client privilege over information
13 or communications on DLI’s technology resources. All files used by Robin Hill
14 Services employees stored on DLI’s cloud storage system or sent through DLI’s
15 email system are the property of DLI, and Robin Hill Services does not have any
16 attorney-client privilege over any such information.
17            Similarly, Ross has waived any right of attorney-client privilege on any
18 information or communication sent through DLI’s email or put on DLI’s cloud
19 storage system. All such activity was subject to DLI’s Employee Handbook and its
20 accompanying warnings. Moreover, when Ross arranged for a DLI employee to
21 have access to personal material to assist him with personal tasks, he was on notice
22 that such material was subject to DLI’s Employee Handbook and would be
23 accessible to DLI’s employees with administrator access, its outside IT vendor, and
24 to DLI generally. Ross’s decision to make material accessible to DLI or its
25 employees, who were not within the scope of the attorney-client privilege,
26 eliminated any claim of privilege. See, e.g., California Evidence Code § 912(a),
27
     68
28        Sharp Decl. Exh. 15, at 3, 23.

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 1 discussed further below.
 2         The Receiver seeks an order that Ross nor non-Receivership entity can claim
 3 attorney-client privilege over any information stored on a Receivership Entity
 4 Technology Resource as defined in the Handbook, and that the Receiver is entitled
 5 to review any such materials stored on a Receivership Entity Technology Resource.
 6         F.     Ross Waived Any Personal Attorney-Client Privilege for Any
 7                Information He Voluntarily Provided to DLI.
 8         Ross has no attorney-client privilege as to any communications made on his
 9 company paid Apple iPhone X because it is a DLI Technology Resource subject to
10 the terms in the DLI Employee Handbook. Ross also has no attorney-client
11 privilege as to the contents of his iPhone or Gmail account because he disclosed the
12 contents of both, and so waived any such rights.
13         Under California law, to preserve the attorney-client privilege, the holder of
14 the privilege must not voluntarily disclose the privileged communication to
15 someone outside the privilege. California Evidence Code § 912(a) codifies the
16 privilege waiver as where the:
17         holder of the privilege, without coercion, has disclosed a significant part
18         of the communication or has consented to disclosure made by anyone.
19         Consent to disclosure is manifested by any statement or other conduct of
20         the holder of the privilege indicating consent to the disclosure, including
21         failure to claim the privilege in any proceeding in which the holder has
22         the legal standing and opportunity to claim the privilege.
23         The test for waiver under federal law similarly focuses on an objective
24 determination of “the holder's disclosure of privileged communications to someone
25 outside the attorney-client relationship, not the holder's intent to waive the
26 privilege.” Tennenbaum v. Deloitte & Touche, 77 F.3d 337, 340–41 (9th Cir. 1996)
27 (citing cases). A voluntary disclosure of privileged information operates to waive
28 the privilege and inadvertence of disclosure does not prevent waiver as a matter of

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 1 law. United States v. Plache, 913 F.2d 1375, 1379 (9th Cir. 1990) (Defendant
 2 waived privilege by voluntarily disclosing legal advice in grand jury testimony).
 3         Ross voluntarily provided materials from his iPhone, including access to his
 4 Gmail account, to DLI in connection with DLI’s investigation into possible fraud
 5 by VoIP Guardian, one of DLI’s investment counterparties. If the iPhone or Gmail
 6 account include communications between Ross and an attorney for which Ross
 7 holds an attorney-client privilege, Ross has waived that privilege by the voluntary
 8 act of providing his iPhone and Gmail account information so that persons outside
 9 that privilege, namely DLI’s outside lawyers and DLI’s in-house attorneys, have
10 access to those communications. Further, communications related to DLI or its
11 business are not subject to a personal attorney client privilege held by Ross nor a
12 reasonable expectation of privacy by Ross.
13 III.    NOTICE OF THE HEARING ON THIS MOTION SHOULD BE
14         DEEMED APPROPRIATE AND SUFFICIENT
15         The Receiver has served notice of the hearing on this Motion on the parties
16 and by mail to the known non-investor creditors of the Receivership Entity and on
17 the law firms whose client files have been requested by the Receiver. The Receiver
18 has posted the notice of hearing and the Motion on the Receiver’s website
19 (https://cases.stretto.com/dli) as well as through the noticing software for investors.
20 The Receiver has transitioned the responsibility for service of investor notices from
21 Opus to Stretto, the Receiver’s Court-approved claims agent. The Receiver has
22 directed Stretto to email the notice of hearing to all investors by no later than August
23 20, 2019. The Receiver believes this notice complies with the provisions of Local
24 Civil Rule 66-7 to the extent that notice to investors is required. The Receiver
25 requests that the Court approve this form of notice as reasonable, appropriate, and the
26 most cost-effective means of providing notice of the hearing under the
27 circumstances, since there are approximately 975 investors both in the United States
28 and overseas, and to the extent necessary, to approve the notice given as reasonable,

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 1 limited notice appropriate under the circumstances and in the interests of time and
 2 cost. This Court, as a court of equity supervising the receivership estate, may make
 3 appropriate administrative orders governing the receivership, including limitations on
 4 and changes in notice and other procedures.           See F.R. Civ. P. 5(a) and (c)
 5 (authorizing the court to modify service procedures when numerous defendants are
 6 involved in litigation). In addition, pursuant to Local Civil Rule 66-8, a receiver is
 7 directed to administer receivership estates in a manner “as nearly as possible in
 8 accordance with the practice in the administration of estates in bankruptcy.” Orders
 9 limiting notice when the Bankruptcy Code or Rules would otherwise require notice
10 to all creditors are routinely granted in bankruptcy cases to promote the expeditious
11 and economical administration of bankruptcy estates.           See In re First Alliance
12 Mortgage Co., 269 B.R. 428, 442 (C.D. Cal. 2001) (referencing in dicta in the court's
13 recitation of facts the bankruptcy court's order limiting notice issued in that case); 11
14 U.S.C. § 102(1)(A) (defining the phrase "after notice and a hearing" to mean "after
15 such notice as is appropriate in the particular circumstances, and such opportunity for
16 hearing as is appropriate in the particular circumstances").
17 IV.     CONCLUSION
18         WHEREFORE, the Receiver respectfully requests entry of an order for relief
19 as detailed in the Motion, and for all other relief determined to be appropriate by the
20 Court under the circumstances.
21 DATED: August 16, 2019                DIAMOND McCARTHY LLP
22
                                         By: /s/ Christopher D. Sullivan
23
                                             Christopher D. Sullivan
24                                           Counsel for Bradley D. Sharp
                                             Permanent Receiver
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